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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO 1:19-CV-23028-DPG

    AMANDA DEFRANKS and KATHERINE
    FOWLER, individually and on behalf of all
    others similarly situated,                         CLASS ACTION

    Plaintiffs,                                        JURY TRIAL DEMANDED

    v.

    NASTYGAL.COM USA INC.,

    Defendant,

    _____________________/

                                     NOTICE OF SETTLEMENT

           Plaintiffs, Amanda Defranks and Katherine Fowler hereby notify the Court that the

   parties have reached an agreement in principle to settle the litigated claims in this case on a class-

   wide basis, subject to Court approval. The parties are presently drafting a written Settlement

   Agreement and related documents, which the parties will endeavor to file with the Court as part

   of a Motion for Preliminary Approval by March 27, 2020.

           Based on the foregoing, the Parties respectfully request that all current deadlines be

   suspended and rulings on all pending motions be held in abeyance, pending the filing of the

   proposed Settlement Agreement.
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   Date: March 12, 2020

   Respectfully Submitted,


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                                             INC.
